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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO


Civil Action No. 1:23-cv-1557


 DARREN PATTERSON CHRISTIAN
 ACADEMY,

                         Plaintiff,

       v.

 LISA ROY, et al.,

                         Defendants.



       PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION AND
                    MEMORANDUM IN SUPPORT
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      Darren Patterson Christian Academy moves this Court pursuant to Fed. R.

Civ. P. 65 to issue a preliminary injunction enjoining Defendants from:

      (A) requiring Darren Patterson Christian Academy to abide by the universal

preschool program’s nondiscrimination provisions (to the extent that they prohibit

Darren Patterson Christian Academy from requiring employees to share and live

out its religious beliefs and from basing its internal school policies on its religious

beliefs about sexuality and gender) in order to participate in the program;

      (B) denying Darren Patterson Christian Academy participation in the

universal preschool program because of its religious character and exercise; and

      (C) withholding or denying Darren Patterson Christian Academy tuition

reimbursement payments under the universal preschool program.

      This motion is supported by the Verified Complaint, ECF No. 1 (“VC”), its

Exhibits, the Memorandum in Support below, and the Declarations filed herewith.

      In compliance with D.C.COLO.LCivR 7.1(a), Plaintiff’s counsel conferred with

the Colorado Attorney General’s Office on July 5 and July 6 about the nature of this

motion and the requested relief. The Colorado Attorney General’s Office said it

represented Defendants and that Defendants opposed the motion.

                                  INTRODUCTION

      Darren Patterson Christian Academy is a small Christian school in Buena

Vista, Colorado. Its namesake, Darren Patterson, wanted to attend a Christian

school but there were none in Chafee County where he lived. Tragically, Darren was

killed by a drunk driver on Thanksgiving Day in 1981, so he never did get to go to a

Christian school. But those who loved Darren the most—his parents, his family,

and his friends—decided to make his dream a reality for others and founded Darren

Patterson Christian Academy. Over 40 years later, Darren’s legacy lives on. The


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school now has a preschool, an elementary school, and a middle school. And it has

provided thousands of Chaffee County residents with the Christian education and

community that Darren always wanted but never had.

      Unfortunately, the state is demanding that the school abandon its Christian

character and beliefs to participate in the state’s brand-new universal preschool

program. That program promises preschool tuition money for every four-year-old in

the state, and the Colorado Department of Early Childhood is supposed to recruit

“as broad a range [of preschool providers] as possible.” Colo. Rev. Stat. § 26.5-4-

204(2). Yet when Darren Patterson Christian Academy applied, the Department

demanded assurances that the school does not “discriminate” against anyone based

on “religion,” “sexual orientation,” or “gender identity.” While the school welcomes

students and families of all faiths and backgrounds, it cannot make those

unqualified assurances because it limits employment to those who share its beliefs

and aligns its policies about bathroom usage, dress codes, pronouns, and student

lodging with its religious beliefs about sexuality and gender.

      So the school wrote to the Department and requested a religious exemption.

The Department denied the request, forcing the school and its families to choose

between their religion and the universal preschool program. But recent Supreme

Court rulings explain that the Department cannot put them to that choice. Because

the school and its families need not give up their constitutional rights to participate

in the program like everyone else, a preliminary injunction should issue.

                            FACTUAL BACKGROUND
      A.     Darren Patterson Christian Academy and its preschool.
      Named in memory of a 14-year-old boy who was killed by a drunk driver on

Thanksgiving Day, Darren Patterson Christian Academy was founded in 1982 to



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give other Chaffee County kids the opportunity Darren Patterson never had: to

attend a local Christian school. Decl. of Joshua Drexler (“Drexler Decl.”) ¶ 4. More

than 40 years later, the school continues to serve Chafee County families and

children who desire a Christian education. Id. ¶ 5. One of just a few options in the

area, Darren Patterson Christian Academy is the only Christian school in the

county with a preschool (“Busy Bees Preschool”), an elementary school (K–5th

grade), and a middle school (6th–8th grade). Id.

      Although the school is “distinctly Christ-centered,” and teaches from a

Christian worldview, its doors are open to students and families of all faiths and

backgrounds.VC ¶ 32; Drexler Decl. ¶ 6. Yet prospective students and families are

aware of the school’s Christian faith and focus, and many pick the school for that

reason. E.g., Joint Decl. of Jason & Sarah Tippetts (“Tippetts Decl.”) ¶¶ 3, 5; Joint

Decl. of Jordan & Carrie Euler (“Euler Decl.”) ¶¶ 5–7. Parents must also sign a

Parent-Student Agreement and agree “to support and uphold the school staff and

the religious mission, intent, policies, rules, and requirements of [the Academy].”

VC, Ex. 4 at 1.

      The preschool, Busy Bees, is an essential part of the school. Busy Bees enrolls

roughly 30 to 50 students each year, ranging from 2 ½ to 5 years old, and most who

graduate from the preschool go on to continue their education at Darren Patterson’s

elementary school. Drexler Decl. ¶¶ 13, 14. Like the rest of the school, Busy Bees’

primary purpose is to equip “students for excellence in Christian life and service by

providing a nurturing, distinctively Christian school environment that emphasizes

knowing Christ, imitating His character, and integrating the Bible in life while

learning and mastering academic knowledge and skills.” VC, Ex. 3 at 3.




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      B.      The school’s religious beliefs and practices.
      Darren Patterson Christian Academy’s educational experience is unique,

effective, and rooted in its religious beliefs. For example, the school believes family

is the most important influence on children, so it uses a four-day school week to

allow families to spend more time together. Drexler Decl. ¶ 10. It also incorporates

Christ-centered expeditionary learning, where students embark on outdoor

expeditions like climbing, backpacking, cross-country skiing, kayaking, and more.

Id. ¶ 11. These challenging expeditions encourage students to put faith into

practice, to strengthen friendships, and to appreciate all God’s creation. Id. The

school also holds daily prayer and devotions; offers Bible classes and lessons

throughout the week; and holds weekly chapel services. Id. ¶ 12.

      The school strives in all things “to teach the truth about God” and “to present

the Word of God as the authoritative source upon which to build a life that has

purpose and meaning.” VC, Ex. 1 at 2. The employee handbook therefore states that

all teachers and staff must:

      •    Teach the Bible as God’s inspired Word and endeavor to help
           students develop attitudes of love and respect toward it;

      •    Seek to develop in students a desire to know and obey the will of
           God as revealed in Scriptures;

      •    Endeavor to encourage and equip [students] to carry out the will of
           God daily, encouraging them to live out their relationship with Him
           in the areas of service and good works in accordance with Matthew
           5:16 (“In the same way, let your light shine before men, that they
           may see your good deeds and praise your Father in heaven.”).

      •    Endeavor to assist [students] in developing the mind of Christ
           toward godliness and sin;

      •    Teach the students how to overcome sin and live in grace; and




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      •    Strive to develop in students thoughtful, Biblical critique of modern
           culture and the wisdom and steadfastness to operate according to
           Biblical principles even when personally costly.

VC, Ex. 5 at 7. The school also expects its teachers to incorporate biblical teachings

and principles in all classes, to attend and sometimes lead weekly chapel services,

to pray for and with students, and to lead morning devotionals. VC, Ex. 5 at 18–23.

      Given all this, the school only hires employees who share its faith. Drexler

Decl. ¶ 25; VC, Ex. 5 at 3. And all employees must agree to a “Lifestyle Statement,”

which requires them to be a “born-again Christian” and to adhere to certain lifestyle

requirements, including abstaining from any sexual activity outside of biblical

marriage. VC, Ex. 5 at 15. This policy of hiring only coreligionists—i.e., those who

share and live out the school’s beliefs—allows the school to believably teach its

Christian beliefs and values to students. It also fosters an environment of Christian

fellowship and discipleship amongst school employees. Drexler Decl. ¶ 26.

      The school’s religious beliefs guide more than its employment practices. For

instance, the school believes and teaches that God created only two unique,

immutable sexes—male and female—and it aligns internal policies accordingly.

Drexler Decl. ¶¶ 19, 20. The school maintains sex-separated bathrooms and dress

codes for boys and girls based on their biological differences and cannot agree to use

pronouns that do not correspond to the person’s biological sex. Id. ¶ 20.
      C.      Colorado’s Universal Preschool Program.
      Colorado’s brand-new universal preschool program (the “program”)

guarantees every 4-year-old in the state at least 15 hours per week of state-funded

preschool services for the upcoming school year. Colo. Rev. Stat. § 26.5-4-204. The

Colorado Department of Early Childhood, in conjunction with “local coordinating




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 organizations,” is responsible for recruiting “as broad a range” of preschool

 providers as possible to participate in the program. Id. § 26.5-4-204(2).

          Under the program, families must first apply and list their preferred

 preschools. The Department then matches students to participating preschools

 based on preference and availability. See Colo. Rev. Stat. § 26.5-4-208(3). Under

 current rates, preschools in Chaffee County would receive $6,018.24 per child

 attending a half-day (15 hours per week) and $10,700.78 per child attending a full

 day (30 hours per week). 1 VC ¶ 86. The first payment to preschool providers is set to
 be made in August 2023. Id. ¶ 87.

          Participating preschools must, among other things, sign a program service

 agreement. VC, Ex. 6. That agreement contains two nondiscrimination provisions

 that are relevant here. Id. at 2, 27. First, preschools must agree to abide by the

 “Quality Assurance Provision.” That provision, which is statutorily mandated,

 requires participating preschools to “provide eligible children an equal opportunity

 to enroll and receive preschool services regardless of . . . religious affiliation, sexual

 orientation, [or] gender identity.” Id. at 2; see also Colo. Rev. Stat. § 26.5-4-

 205(2)(b). Second, preschools must also abide by a catch-all provision that prohibits

 “discriminat[ion] against any person on the basis of . . . religion . . . sexual

 orientation, [or] gender identity.” VC, Ex. 6 at 27 (“Blanket Provision”). Unlike the

 Quality Assurance Provision, the Blanket Provision is not mandated by statute or

 regulation but instead is unilaterally imposed by the Department.

          Together, the provisions forbid schools like Darren Patterson Christian

 Academy from requiring employees to share their faith and from aligning their



 1   Children meeting certain factors can get up to 30 hours.


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 internal policies—such as those involving restroom usage, dress codes, pronouns,

 and student lodging—with their religious beliefs about sexuality and gender.
       D.     The Department forces Darren Patterson Christian Academy to
              give up its constitutional rights to participate in the program.
       After learning about the universal preschool program, Darren Patterson

 Christian Academy was excited to participate. Drexler Decl. ¶ 27. The school

 applied and was asked to electronically sign the program service agreement, which

 it did. Id. ¶ 28. Although the school was approved to participate, it was concerned

 that the Department required agreement with nondiscrimination provisions that
 would prevent the school from operating consistently with its beliefs. Id. ¶ 29.

       Others shared the school’s concern. In February 2023, a group of faith-based

 preschool providers and private organizations raised the issue with Governor Polis.

 VC, Ex. 8 at 1–2. The group explained the program’s nondiscrimination provisions

 “infringe[d] upon the religious liberty of faith-based providers” and excluded many

 religious preschools. Id. They asked Governor Polis and the Department to discuss

 the possibility of religious exemptions, id. at 2, but Defendant Roy responded by

 claiming she could not “create an exemption.” VC, Ex. 9 at 1.

       Similarly, in May 2023, Darren Patterson Christian Academy emailed

 Defendants Roy and Odean to request a religious exemption from “certain aspects of

 the Agreement’s two nondiscrimination provisions.” VC, Ex. 10 at 2. The school

 explained that it “welcomes all children and families to its preschool,” but its

 “internal rules, policies, and student expectations . . . are based on its religious

 beliefs, including those about sexuality and gender.” Id. So the school’s “policies on

 bathroom and locker room usage, pronoun usage, and dress codes” are all “based on

 [a] student’s biological sex” and thus conflict with the Department’s gender identity

 rules. Id. The school added that the Blanket Provision—which prohibits


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 discrimination against “any person” based on “religion,” “sexual orientation,” or

 “gender identity”—would prohibit the school from requiring “employees to affirm

 and follow its beliefs,” including those “about marriage, sexuality, and gender.” Id.

       Defendant Roy’s response was nearly identical to her response to the group of

 faith-based providers. She said the Department could not accommodate religious

 preschools like Darren Patterson Christian Academy. Id. at 1. Instead, she

 explained there was a partial exemption for preschools run by houses of worship,

 which allowed those schools to “reserve all or a portion of their [preschool] seats” for

 members of their congregations. Id. This exemption does not help Darren Patterson

 Christian Academy because it is not operated by a church. Drexler Decl. ¶ 35.

                                 LEGAL STANDARD

       A party moving for a preliminary injunction must show: (1) a likelihood of

 success on the merits; (2) a likely threat of irreparable harm; (3) the alleged harm

 outweighs any harm to the nonmoving party; and (4) the injunction will be in the

 public interest. Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1128 (10th Cir.

 2013), aff’d sub nom. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014). The

 likelihood of success is often “the determinative factor” in First Amendment cases.

 Id. at 1145 (citation and quotation marks omitted).

                                     ARGUMENT
 I.    Darren Patterson Christian Academy is likely to succeed on the
       merits of its claims.
       A.     The Department’s rules infringe the school’s religious
              autonomy and expressive association.
       The program’s nondiscrimination provisions (“rules”) interfere with Darren

 Patterson Christian Academy’s internal management and employment decisions,

 which violate the school’s religious autonomy and expressive association.


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              1. The rules interfere with the school’s right to select its
                 ministers and to hire coreligionists.
       The Religion Clauses of the First Amendment protect the autonomy of

 religious organizations. This includes the right to form “voluntary religious

 associations to assist in the expression and dissemination of any religious doctrine”

 and to adopt rules requiring “conformity of the members . . . to the standard of

 morals required of them.” Watson v. Jones, 80 U.S. 679, 728–29, 733 (1871). And it

 includes “independence . . . to decide for themselves, free from state interference,

 matters of [internal] government.” Kedroff v. St. Nicholas Cathedral of Russian

 Orthodox Church in N. Am., 344 U.S. 94, 116 (1952).

       This promise of autonomy gives religious schools like Darren Patterson

 Christian Academy the freedom to make internal membership and employment

 decisions. It does so through two separate but similar protections: the church

 autonomy doctrine and the ministerial exception. The ministerial exception is a

 subset of the church autonomy doctrine and prevents any interference with the

 school’s decision to hire or fire one of its “ministers,” whatever the reason. See Our

 Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049 (2020); Hosanna-Tabor

 Evangelical Lutheran Church & Sch. v. EEOC., 565 U.S. 171 (2012). The church au-

 tonomy doctrine includes (among other things) the freedom to prefer coreligionists

 for all positions—at times called the coreligionist exemption. See Bryce v. Episcopal

 Church in the Diocese of Colo., 289 F.3d 648, 657 (10th Cir. 2002). 2

       The Department’s rules seek to strip the school of both freedoms. The

 Department insists that, to participate in the program, the school must hire those

 2 This freedom is broader than the ministerial exception in some ways, yet narrower
 in others. Broader because it applies to all positions (not just ministers); narrower
 because it protects non-ministerial employment decisions only when rooted in
 religious belief, practice, or adherence. See Bryce, 289 F.3d at 657.


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 who reject its faith, including its beliefs about gender and sexuality. See VC, Ex. 6

 at 27 (a “[p]rovider shall not discriminate against any person on the basis of . . .

 religion . . . sexual orientation, [or] gender identity”). But if the school cannot hire

 based on its religion, it will no longer be religious.

        This violates the ministerial exception. Darren Patterson Christian Academy

 has multiple ministerial employees, including its teachers. The school educates

 students from a Christian worldview, bases its curriculum on the Bible, and seeks

 to bring every child into a relationship with God through Jesus Christ. VC, Ex. 5 at

 4–5. To that end, Darren Patterson Christian Academy’s teachers are “committed to

 mentoring and discipling students in the Christian faith.” Id. at 12. They are

 expected to integrate “Biblical principles in the study of all subjects in all areas of

 the curriculum and in all co-curricular activities,” and their “foremost goal” is to

 “assist[ ] students in developing a Christian mind.” Id. at 18. The school’s teachers

 also pray with and for students, attend (and sometimes lead) weekly chapel with

 students, and attend daily morning devotions. Drexler Decl. ¶ 24.

        Simply put, “educating young people in their faith, inculcating its teachings,

 and training them to live their faith are responsibilities that lie at the very core of

 the mission” of Darren Patterson Christian Academy. Our Lady, 140 S. Ct. at 2064.

 And like the teachers in Hosanna-Tabor and Our Lady, the school’s teachers are

 “entrusted with the responsibility of ‘transmitting the [Christian] faith to the next

 generation.’” Id. (quoting Hosanna-Tabor, 565 U.S. at 192). Yet the Department’s

 rules interfere with the school’s freedom to select its teachers and other ministerial

 employees, infringing the school’s religious autonomy.

        The Department’s rules also interfere with the school’s ability to hire

 coreligionists for all positions. The First Amendment protects the school’s right to



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 hire those who share and live out its faith, regardless of position. The reason why is

 obvious. The school’s mission is to provide “a nurturing, distinctively Christian

 school environment that emphasizes knowing Christ, imitating His character, [and]

 integrating the Bible in all of life and learning.” VC, Ex. 5 at 4. So the school

 teaches students, through both word and deed, that every person can and should

 “know[] Christ,” “imitat[e] His character,” and “integrat[e] the Bible in all of life and

 learning.” Id. That’s true whether the person is the head of school, a preschool

 teacher, or the janitor. Employees who reject, disagree, or live a life contrary to that

 faith cannot credibly teach or demonstrate it; they would instead undermine it.

       As such, the rules violate the First Amendment, per se.
              2. The rules violate the school’s right to expressive association
                 by forcing it to hire those who disagree with its beliefs.
       The Department’s forced inclusion of nonbelievers also infringes the school’s

 First Amendment right “to associate with others in pursuit of . . . educational [and]

 religious . . . ends.” Boy Scouts of Am. v. Dale, 530 U.S. 640, 647 (2000). This right to

 expressive association includes “freedom not to associate” with people who “may

 impair [the group’s] ability” to express its views. Id. at 647–48. The right applies if

 (1) “the group engages in ‘expressive association,’” and (2) “the forced inclusion” of a

 person “affects in a significant way the group’s ability to advocate public or private

 viewpoints.” Id. at 648. The school satisfies both elements.

       First, the school “engage[s] in some form of expression.” Id. at 648. The school

 was founded to “teach the truth about God, life and living and to present the Word

 of God as the authoritative source upon which to build a life that has purpose and

 meaning.” VC, Ex. 1 at 2. And although the school welcomes any student, it teaches

 from a Christian worldview and shares the Gospel of Jesus Christ to every student

 and parent. That is the point of being an evangelistic school. In fact, many parents


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 choose to send their children to the school because of the religious education they

 will receive. E.g., Tippetts Decl. ¶¶ 3, 5; Euler Decl. ¶¶ 5–7. In short, the Mission’s

 “very existence is dedicated to the collective expression and propagation of shared

 religious ideals.” Hosanna-Tabor, 565 U.S. at 200–201 (2012) (Alito, J., concurring).

       Second, the Department’s rules demand the school hire people who disagree

 with the school’s religious beliefs. But courts must “give deference to an associa-

 tion’s view of what would impair its expression,” Dale, 530 U.S. at 653, and nothing

 would impair the school’s more than having employees who reject its foundational

 beliefs. Again, the reason why is obvious. If employees disagreed with the school’s

 beliefs (about marriage, sexuality, gender, or otherwise) those employees could not

 effectively teach—let alone defend or exemplify—those beliefs to others. See id.

       The Second Circuit’s recent decision in Slattery v. Hochul, 61 F.4th 278 (2d

 Cir. 2023), is directly on point. There, New York state passed a law that prohibited

 employment discrimination based on an employee’s “reproductive health decision

 making.” Id. at 283. A pro-life pregnancy center challenged the law, arguing it

 violated its right to expressive association because the law forced the center to hire

 employees who supported abortion, undermining its pro-life message. Id. at 284.

 The court agreed, first finding that the center engaged in expressive activity

 because it “aim[ed] to share [its] pro-life message with the world” and did so with

 the women to whom it offered health-care services. Id. at 287. Next the court found

 the law “significantly burden[ed]” the center’s expressive activity because it

 “force[d] the center to employ individuals who act or have acted against the very

 mission of its organization.” Id. at 288. The court took no issue that the law arose in

 the employment context, explaining that “compelled hiring, like compelled

 membership, may be a way in which a government mandate can affect in a



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 significant way a group’s ability to advocate public or private viewpoints.” Id. at 288

 (citation and quotation marks omitted). So it applied strict scrutiny and held that

 any purported interest in preventing discrimination against abortion supporters

 could not “overcome the expressive rights of an association dedicated to outlawing

 or otherwise opposing that specific conduct.” Id. at 289

       Here, like Slattery, the Department’s rules force the school to hire those

 whose views or conduct run contrary to the organization’s. And here, like Slattery,

 complying with the rules would impede the school’s ability to express its message.

 Because “[t]he right to expressive association allows [Darren Patterson Christian

 Academy] to determine that its message will be effectively conveyed only by

 employees who sincerely share its views,” id. at 288, but the rules compel the school

 to hire those who do not, they violate the school’s expressive association.

       B.     The Department’s rules violate the Free Exercise Clause.
              1. The rules exclude the school based on its religious character
                 and exercise.
       The Department violates the Free Exercise Clause by disqualifying Darren

 Patterson Christian Academy because of its religious character and exercise.
       Because the Free Exercise Clause “protects against indirect coercion or

 penalties on the free exercise of religion, not just outright prohibitions,” the

 Supreme Court has “repeatedly held” that the government cannot “exclude[ ]

 religious observers from otherwise available public benefits” just because they are

 religious or do religious things. Carson v. Makin, 142 S. Ct. 1987, 1996 (2022)

 (citation and quotation marks omitted). Indeed, the Supreme Court has held as

 much three times within the last six years.




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       In Trinity Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449, 455–56

 (2017), a church preschool applied for and was denied a playground resurfacing

 grant because the government had an express policy of excluding applicants

 controlled by a church. The Court held the policy unconstitutional, explaining that

 it disqualified eligible recipients “from a public benefit solely because of their

 religious character,” thereby imposing a “penalty on the free exercise of religion that

 trigger[ed] the most exacting scrutiny”—which it failed. Id. at 462.

       Next, in Espinoza v. Montana Department of Revenue, 140 S. Ct. 2246, 2255

 (2020), the Court struck down the Montana constitution’s no-aide provision because

 it barred religious schools from participating in the state’s scholarship program

 “solely because of the religious character of the schools.” The Court explained that

 when a State decides to “subsidize private education,” it cannot then decide to

 “disqualify some private schools solely because they are religious.” Id. at 2261.

       And most recently, in Carson v. Makin, the Court held that Maine could not

 exclude sectarian private schools from the state’s tuition assistance program. 142 S.

 Ct. at 2002. Trying to avoid Trinity Lutheran and Espinoza, Maine argued it did not

 exclude religious schools based on religious-status, but only on religious-use because

 “a school is excluded only if it promotes a particular faith and presents academic

 material through the lens of that faith.” Id. at 2001 The Court rejected that

 argument, noting the very reason religious schools exist is to teach their faith. “Any

 attempt to give effect to such a distinction,” the Court continued, would raise

 serious constitutional concerns. Id. It concluded, “the prohibition on status-based

 discrimination under the Free Exercise Clause is not a permission to engage in use-

 based discrimination.” Id.




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       These “‘unremarkable’ principles” are dispositive here. Id. at 1997. The

 Department’s rules forbid Darren Patterson Christian Academy from hiring only

 coreligionists and from aligning its internal policies on restroom usage, pronouns,

 dress code, and student lodging with its religious beliefs. So the school can either

 participate in the program or continue its religious exercise, but not both. If it elects

 the latter, its “freedom [of religion] comes at the cost of automatic and absolute

 exclusion from the benefits of a public program for which the [school] is otherwise

 fully qualified.” Trinity Lutheran, 582 U.S. at 462. By forcing the school to decide

 between faith or funding, devotion or dollar, piety or payment, the Department

 “penalizes the free exercise of religion” and engages in religious discrimination that

 is “odious to our Constitution.” Carson, 142 S. Ct. at 1996–97 (citations and

 quotation marks omitted).
              2. The rules are not neutral and generally applicable.
       The program’s rules violate the Free Exercise Clause for another reason: they

 are neither neutral nor generally applicable and cannot survive strict scrutiny.

 Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1876–77 (2021). “Neutrality and

 general applicability are interrelated” and “failure to satisfy one requirement is a

 likely indication that the other has not been satisfied.” Church of Lukumi Babalu

 Aye, Inc. v. Hialeah, 508 U.S. 520, 531 (1993). A law is not generally applicable if:

 (1) it “prohibits religious conduct while permitting secular conduct that undermines

 the government’s asserted interests in a similar way,” or (2) it “invites the

 government to consider the particular reasons for a person’s conduct by providing a

 mechanism for individualized exemptions.” Fulton, 141 S. Ct. at 1877 (cleaned up).

 And a law is not neutral if its “object” is religious exercise. Lukumi, 508 U.S. at 535.




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       The Department’s rules are neither neutral nor generally applicable for at

 least three reasons. First, the Act contains a mechanism for individualized

 exemptions that permits the Department “to grant exemptions based on the

 circumstances underlying each application.” Fulton, 141 S. Ct. at 1877. The

 Department can approve a preschool to participate in the program even if it does

 not meet the quality standards (including the Quality Assurance Provision) if the

 Department finds it “necessary to ensure the availability of a mixed delivery system

 within a community.” Colo. Rev. Stat. § 26.5-4-205(1)(b)(II).

       Second, the Department has created categorical exemptions for others but

 has refused a religious exemption for Darren Patterson Christian Academy. The

 Department allows some preschools to decline matched students to make room for

 “preferred” students—those who have a sibling enrolled at the school or a family

 member employed by the school. See VC, Ex. 7 at 5. And it even allows preschools

 operated by houses of worship to give preference to members of their congregation,

 a clear example of otherwise prohibited religious discrimination. VC, Ex. 10 at 1.

       Third, the Department’s nondiscrimination rules, in “real operation,” harm

 only religious preschools like Darren Patterson Christian Academy, thus creating a

 “religious gerrymander” that “target[s] [religious schools] and their religious

 practices.” Lukumi, 508 U.S. at 534, 535 (citation omitted). When Darren Patterson

 Christian Academy sought an exemption, see VC, Ex. 10, the Department claimed

 its hands were tied, even though exemptions exist for various other reasons.

 Because the Department “may not refuse to extend that system [of exemptions] to

 cases of religious hardship without compelling reason,” Fulton, 141 S. Ct. 1868, the

 Department’s rules trigger (and fail) strict scrutiny, see infra § I.D.




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       C.     The rules violate the Free Speech Clause.
       The Department’s rules also infringe Darren Patterson Christian Academy’s

 free speech rights by censoring and compelling the school’s speech based on “the

 idea or message expressed.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015).

       Start with the school’s protected speech. “[T]he First Amendment protects an

 individual’s right to speak his mind regardless of whether the government considers

 his speech sensible and well intentioned or deeply misguided.” 303 Creative, LLC v.

 Elenis, No. 21–476, slip op. at 8 (June 30, 2023) (citations and quotation marks

 omitted). The school engages in protected speech when it teaches and uses pronouns

 in line with its view that sex is based on biology, unchangeable, and predetermined

 by God. Now consider the speech restrictions. The Department’s rules require the

 school to give “preschool services regardless of,” and to “not discriminate . . . on the

 basis of,” gender identity. VC, Ex. 6 at 2, 27. The State interprets these restrictions

 to regulate the school’s use of pronouns and any instruction that sex is immutable.

       We know this for at least three reasons. First, the State prohibits

 “[d]eliberately misusing an individual’s preferred name” or “gender-related

 pronoun” under the Colorado Anti-Discrimination Act (“CADA”), which, like the

 Department’s rules, broadly prohibits gender identity discrimination. 3 Colo. Code

 Regs. § 708-1:81.6. Second, other states and courts interpret similar language to

 compel the use of preferred pronouns. See, e.g., Prescott v. Rady Children’s Hosp.-

 San Diego, 265 F. Supp. 3d 1090, 1096–1099 (S.D. Cal. 2017) (interpreting Unruh

 Civil Rights Act and Affordable Care Act to apply to compel preferred pronouns).

 Third, Darren Patterson Christian Academy specifically raised the pronoun issue

 when requesting an exemption, VC, Ex. 10 at 2, yet the Department said no

 exemption was available and that the school must comply with the rules.



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        When it comes to the question of sexuality and gender, the Department

 makes clear that the school “must either speak as the State demands or face [the

 penalty of not participating in the program] for expressing [its] own beliefs.” 303

 Creative, No. 21–476, slip op. at 11. That’s the epitome of a content-based speech

 restriction that must face strict scrutiny, which it cannot satisfy. See infra § I.D.
       D.     The Department’s rules fail strict scrutiny.
       Because the Department’s rules infringe the school’s First Amendment

 rights, they must survive strict scrutiny. To do so, the challenged rules “must

 advance interests of the highest order and must be narrowly tailored in pursuit of

 those interests.” Carson, 142 S. Ct. at 1997 (cleaned up). The rules fail both prongs.

       First, the Department lacks a compelling interest in making Darren

 Patterson Christian Academy choose between its religious character and exercise

 and participating in the program. Such government action “that targets religious

 conduct for distinctive treatment will survive strict scrutiny only in rare cases.”

 Carson, 142 S. Ct. at 1997. Nor does the Department have any legitimate interest

 “in separating church and State ‘more fiercely’ than the Federal Constitution.”

 Espinoza, 140 S. Ct. at 2260. To the contrary, the legislation enacting the program

 instructed the Department to identify and recruit “as broad a range [of preschool

 providers] as possible.” Colo. Rev. Stat. § 26.5-4-204(2). Once the State decided to

 “subsidize private education,” it cannot implement rules that “disqualify some

 private schools solely because they are religious.” Espinoza, 140 S. Ct. at 2261.

       Second, the Department cannot rely on a “broadly formulated” interest in

 “equal treatment” or in “enforcing its non-discrimination policies generally,” but

 must establish a compelling interest “in denying an exception” to Darren Patterson

 Christian Academy. Fulton, 141 S. Ct. at 1882. Any such interest is undermined by



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 existing exemptions. The Department exempts preschools based on sibling

 attendance and family employment, and it allows preschools operated by houses of

 worship to favor students whose parents are members of the congregation—thus

 allowing religious discrimination. On top of that, the Department can hand out

 individualized exemptions from the Quality Assurance Provision if it finds the

 exemption “necessary.” Colo. Rev. Stat. § 26.5-4-205(1)(b)(II). This “system of

 exceptions . . . undermines [the Department’s] contention that its non-

 discrimination policies can brook no departures.” Fulton, 141 S. Ct. at 1882.

       Third, the Department lacks any interest in policing the school’s speech.

 “[R]egulating speech because it is discriminatory or offensive is not a compelling

 state interest.” Telescope Media Grp. v. Lucero, 936 F.3d 740, 755 (8th Cir. 2019).

 Indeed, any such claimed interest is particularly “weak” in the context of education

 and pronouns. Meriwether v. Hartop, 992 F.3d 492, 510 (6th Cir. 2021).

       The rules are also not narrowly tailored. By exempting other preschools for

 other reasons, the Department has already shown there are less restrictive

 alternatives that would still accomplish the State’s interests. After all, the purpose

 of the universal preschool program is to “provide high-quality, voluntary preschool

 programming through a mixed delivery system for children throughout the state.”

 Colo. Rev. Stat. § 26.5-4-202(1)(b). This is better accomplished by permitting more

 preschools to participate, not by shutting some out because of their beliefs.
 II.   The school satisfies the other preliminary injunction factors.
       Darren Patterson Christian Academy also satisfies the other preliminary

 injunction factors. To start, when a plaintiff shows a likelihood of success on the

 merits of a constitutional claim, “no further showing of irreparable injury is

 necessary.” Kikumura v. Hurley, 242 F.3d 950, 963 (10th Cir. 2001) (citation and



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 quotation marks omitted). That’s because “the loss of First Amendment freedoms,

 for even minimal periods of time, unquestionably constitutes irreparable injury.”

 Hobby Lobby, 723 F.3d at 1145 (citation omitted). The school has shown such a

 likelihood here, which suffices for a preliminary injunction.

       Besides, the school will continue to face real, practical harm absent an

 injunction. Parents and children matched to the school now will have to pick

 between state financial assistance or a Christian education. And the school has to

 decide whether to subsidize the cost for these families. See Drexler Decl. ¶ 40.

 Without being able to participate in the program, the school will inevitably lose

 students thus hurting its overall reputation and educational goals.

       The balance of equities also heavily tips in the school’s favor. “[W]hen

 [government action] is likely unconstitutional, the interests of those the government

 represents, . . . do not outweigh a plaintiff’s interest in having its constitutional

 rights protected.” Hobby Lobby, 723 F.3d at 1145 (cleaned up). Lastly, a preliminary

 injunction would be in the public interest because “[i]t is always in the public

 interest to prevent the violation of a party’s constitutional rights.” Id. at 1147

 (citation and quotation marks omitted). Enjoining the Department here will still

 allow it to enforce the challenged rules against other preschools who do not hold

 sincere religious objections, like Darren Patterson Christian Academy.

                                     CONCLUSION

       For the foregoing reasons, the Court should grant the motion and issue the

 requested preliminary injunction.




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       Respectfully submitted this 10th day of July, 2023,


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                            CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2023, I electronically filed the foregoing with

 the Clerk of Court using the CM/ECF system and will serve the same on all parties

 via private process server. In addition, I certify that I will provide a copy of the

 foregoing to the following non CM/ECF participant via electronic mail:
       Virginia Carreno
       Second Assistant Attorney General
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                                                 s/ Jeremiah Galus
                                                 Jeremiah Galus




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